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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ12-392

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   JESUS DOMINGUEZ-DURAN
13
                                   Defendant.
14

15   Offense charged:
16          Illegal Alien in Possession of Firearm, in violation of 18 U.S.C. § 922(g)(5)(A)
17
     Date of Detention Hearing: July 20, 2012
18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21          1.      Defendant is a citizen of Mexico.
22          2.      An immigration detainer has been placed on defendant by the United States
23   Immigration and Customs Enforcement.
24          3.      Defendant has stipulated to detention, but reserves the right to contest his
25   continued detention if there is a change in circumstances.
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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            4.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
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     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 23rd day of July, 2012.


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                                                   JAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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